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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS



CITY OF CHELSEA and
CITY OF SOMERVILLE,

      Plaintiffs,

              v.

DONALD J. TRUMP, President of the United
States, PAMELA J. BONDI, Attorney General of            Case No. 25-10442
the United States, EMIL J. BOVE, Acting Deputy
Attorney General, UNITED STATES                         COMPLAINT FOR DECLARATORY
DEPARTMENT OF JUSTICE, KRISTI L. NOEM,                  AND INJUNCTIVE RELIEF
Secretary of the United States Department of
Homeland Security, UNITED STATES
DEPARTMENT OF HOMELAND SECURITY,
SEAN P. DUFFY, Secretary of the United States
Department of Transportation, UNITED STATES
DEPARTMENT OF TRANSPORTATION, and
UNITED STATES OF AMERICA,

      Defendants.




                                           INTRODUCTION

         1.         The Massachusetts cities of Chelsea and Somerville bring this action to prevent the

  federal Executive Branch from defunding their police forces and other essential public safety

  functions as part of a politicized attack on “sanctuary jurisdictions.” The federal administration’s

  threatened defunding would undermine Plaintiffs’ efforts to enhance the safety of their own

  communities through well-considered law enforcement efforts and policy judgments and would

  violate the U.S. Constitution.

         2.         Like many local governments across the country, Plaintiffs Chelsea and Somerville

  have adopted policies that limit the circumstances under which they and their law enforcement
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agencies expend their already-constrained resources to assist with federal immigration

enforcement efforts. Often referred to as “sanctuary cities,” local jurisdictions like Plaintiffs enact

these policies to best serve their communities. By avoiding unnecessary entanglement with federal

immigration efforts, sanctuary policies help ensure that all residents feel safe interacting with local

law enforcement and officials, regardless of their immigration status. Victims of crime can report

incidents to the police without fear that doing so will expose themselves or their loved ones to

immigration enforcement; witnesses are more likely to cooperate with police for the same reason.

Sanctuary policies also allow local law enforcement to efficiently allocate often-scarce resources

to high-priority enforcement issues in their communities. For all of these reasons, Plaintiffs have

determined that their sanctuary policies enhance public safety for their residents.

       3.      However, Defendants—President Donald J. Trump (“Trump”) and other federal

officials—have mounted an aggressive campaign to undermine the authority of local governments

to make these local determinations. Through a series of actions that began within hours of Trump’s

second inauguration, Defendants have attempted to commandeer local governments to play an

active role in Defendants’ “mass deportation” plan—trampling on the rights of Plaintiffs and other

localities like them in the process.

       4.      On January 20, 2025, his first day back in office, Trump unleashed a slew of

Executive Orders (“EOs”) on wide-ranging issues. Among these Executive Orders was EO 14148,

titled “Initial Recissions of Harmful Executive Orders and Actions,” which rescinded a number of

Biden-era Executive Orders, including EO 13993, an EO that itself had rescinded Trump’s 2017

Executive Order targeting sanctuary jurisdictions.

       5.      That same day, Trump issued Executive Order 14159 (hereinafter, the “Executive

Order,” attached as Exhibit A), titled “Protecting the American People Against Invasion,” a focus


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of this suit. Section 17 of the Executive Order, titled “Sanctuary Jurisdictions,” purports to give

the Attorney General and the Secretary of Homeland Security the power to undertake “any lawful

action” to ensure that sanctuary cities “do not receive access to Federal funds.”

       6.      On January 21, 2025, just one day later, Acting Deputy Attorney General Emil

Bove published a memorandum to all Department of Justice (“DOJ”) employees (the “Bove

Memo,” attached as Exhibit B), which expressly noted that “Federal law prohibits states and local

actors from resisting, obstructing, and otherwise failing to comply with lawful immigration-related

commands and requests.” More specifically, the Bove Memo provided that DOJ “shall investigate

incidents involving any such misconduct for potential prosecution,” and expressly listed three

statutes: 18 U.S.C. § 371 (“Conspiracy to Commit Offense or Defraud the United States”), 8

U.S.C. § 1324 (“Bringing in and Harboring Certain Aliens”), and 8 U.S.C. § 1373

(“Communication Between Government Agencies and the Immigration and Naturalization

Service”).

       7.      The Bove Memo, consistent with the Executive Order, explicitly sought to punish

sanctuary jurisdictions by “ensur[ing]” that they “do not receive access to Federal funds.” This

directive was further confirmed when Trump initiated a highly publicized “funding freeze” on all

federal grants and loans, via a memo issued by the White House’s Office of Management and

Budget (“OMB”) on January 27, 2025. The very first exemplar of cuts in the OMB memo cited

the Executive Order concerning sanctuary jurisdictions, thereby signaling the Trump

Administration’s (the “Administration’s”) crystal-clear intention to prevent sanctuary jurisdictions

from accessing federal funds to which they are entitled.

       8.      Although the funding freeze was quickly challenged in the courts and rescinded by

the Administration only two days later (though the overall effort to review funding was not


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rescinded), the intense confusion it caused remains.        What is clear, however, is that the

Administration intends that sanctuary jurisdictions “not receive access to Federal funds.”

       9.      This intent was again reflected in a January 30, 2025 order issued by Trump’s new

secretary for the Department of Transportation (“DOT”), Sean Duffy, who made clear in an order

(the “DOT Order,” attached as Exhibit C) that for “all DOT grants, loans, contracts, and DOT-

supported or -assisted State contracts,” it would now be the policy of the DOT to effectively de-

“prioritize” such funding for sanctuary jurisdictions by prioritizing “projects and goals that . . .

require local compliance or cooperation with Federal immigration enforcement and with other

goals and objectives specified by the President of the United States or the Secretary.” In a world

of limited resources, as is the case with local entities trying to secure DOT funding, de-

prioritization is functionally the same as cutting off funding. At the same time, the DOT Order

would oddly “give preference to communities with marriage and birth rates higher than the

national average.” Neither provision on its face appears to bear any relationship, whatsoever, to

the responsibilities of DOT.

       10.      On newly appointed Attorney General Pamela Bondi’s first day in office, Bondi

signed a memo further implementing the Executive Order an expanding on the Bove Memo, and

took direct aim at sanctuary cities (the “Bondi Memo,” attached as Exhibit D, and together with

the Bove Memo, the “DOJ Memos”).            The Bondi Memo unequivocally states, “Sanctuary

jurisdictions should not receive access to federal grants administered by the Department of Justice,”

and called for prosecuting violations of the same three statutes referenced in the Bove Memo.

Toward that end, the Bondi Memo instituted an immediate pause on all DOJ funds.

       11.     On February 6, 2025, the DOJ sued the State of Illinois, the City of Chicago, Cook

County, and various local representatives over their alleged sanctuary policies. Then on February


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12, 2025, the DOJ sued New York and various local representatives over New York’s “Green

Light Law,” which is geared to encourage New York residents to apply for a driver’s license

regardless of their immigration status. These lawsuits are a blatant attempt by the federal

government to undermine the constitutionally protected authority of local jurisdictions.

        12.     Trump further issued another Executive Order on February 19, 2025, titled “Ending

Taxpayer Subsidization of Open Borders,” (the “Subsidization Executive Order,” attached as

Exhibit E) in which he ordered, at Section 2(a)(ii), that “the head of each executive department or

agency (agency) shall . . . ensure . . . that Federal payments to States and localities do not, by

design or effect, facilitate the subsidization or promotion of illegal immigration, or abet so-called

‘sanctuary’ policies that seek to shield illegal aliens from deportation.” The Subsidization

Executive Order was geared toward all federal agencies and targets funds that, inter alia, aid

sanctuary policies.

        13.     Defendants’ campaign against sanctuary cities relies on two categories of threats

and intimidation: 1) threatening to, and taking actions towards, withholding federal funds from

cities that refuse to bend to Defendants’ will, even if those funds have nothing to do with

Defendants’ stated aims and even if Congress has given no directive toward that end; and 2)

threatening criminal and civil prosecution of those who are deemed insufficiently compliant. In

this manner, Defendants’ attack on sanctuary cities improperly seeks to control and undermine

what is fundamentally local decision-making; usurps the role of Congress and its Spending Power;

injects significant uncertainty into the landscape due to its vagueness; and violates Plaintiffs’

constitutional rights.

        14.     Defendants’ illegal campaign of bullying and intimidation—to force local

jurisdictions to sacrifice local public safety resources, their values, and their determinations about


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what is best for their residents—is particularly harmful for smaller cities like Plaintiffs, whose

residents would be grievously harmed by any termination of federal funding. Plaintiffs rely on

various key sources of federal funding—in the range of tens of millions of dollars—to fill critical

budgetary needs in the management of their respective cities. In addition, as smaller jurisdictions,

their ability to defend against criminal and civil prosecutions is limited.

       15.     This action challenges the Executive Order, the Bondi Memo implementing it, the

DOT Order, and the Subsidization Executive Order, which are the centerpieces of Defendants’

illegal and unconstitutional assault on sanctuary cities. These Executive Branch actions have

caused and will continue to cause harm to Plaintiffs—in violation of numerous Constitutional

principles, including the Separation of Powers, the Spending Clause, the Tenth Amendment and

its anti-commandeering doctrine, and the Fifth Amendment guarantees of due process and its void-

for-vagueness doctrine—unless addressed by this Court. Further, the Bondi Memo and DOT

Order, which represent agency action, violate the Administrative Procedure Act (“APA”), because

they are arbitrary and capricious, contrary to the Constitution, and in excess of statutory authority.

       16.     Plaintiffs accordingly seek declaratory relief, as well as a preliminary and

permanent injunction barring Defendants from implementing or enforcing the Executive Order,

Bondi Memo, DOT Order, and Subsidization Executive Order. Plaintiffs further reserve the right

to amend their claims should the Administration (including DOJ and DOT) take further action

supplementing or revising their scheme targeting “sanctuary jurisdictions.”

                                 JURISDICTION AND VENUE

       17.     The Court has jurisdiction under 28 U.S.C. §§ 1331 and 1346. This Court has

further remedial authority under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 et

seq. Pursuant to 5 U.S.C. § 702, sovereign immunity is waived for the United States.


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       18.     Pursuant to 28 U.S.C. § 1391(e), venue properly lies within the District of

Massachusetts because, inter alia, Plaintiffs each reside in this judicial district (and no real

property is involved in the action).

                                            PARTIES

       19.     Plaintiff City of Chelsea is a municipal corporation organized and existing under

the laws of the Commonwealth of Massachusetts and self-identifies as a “sanctuary city.”

       20.     Plaintiff City of Somerville is a municipal corporation organized and existing under

the laws of the Commonwealth of Massachusetts and currently self-identifies as a “welcoming

community.”

       21.     Defendant Donald J. Trump is the President of the United States. He is responsible

for issuing and signing the Executive Orders that restarted the Administration’s attacks against

sanctuary jurisdictions. President Trump is sued in his official capacity.

       22.     Defendant Pamela J. Bondi is the Attorney General of the United States. The

Attorney General is a cabinet-level position of the U.S. federal government overseeing the DOJ.

Attorney General Bondi is responsible for executing relevant provisions of the Executive Order

and issuing the second DOJ memo implementing the Executive Order. Attorney General Bondi is

sued in her official capacity.

       23.     Defendant Emil J. Bove is the Acting Deputy Attorney General of the United States,

the second-highest ranking official within DOJ. Acting Deputy Attorney General Bove issued the

first DOJ memo implementing the Executive Order. He is sued in his official capacity.

       24.     Defendant United States Department of Justice is an executive agency of the United

States federal government. DOJ is responsible for initiating some of the key Executive Branch

actions at issue in this lawsuit, namely implementation of the Executive Order through two DOJ

memos.
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       25.     Defendant Kristi L. Noem is the Secretary of Department of Homeland Security

(“DHS”). Secretary Noem is responsible for executing relevant provisions of the Executive Order.

Secretary Noem is sued in her official capacity.

       26.     Defendant United States Department of Homeland Security is an executive agency

of the United States federal government. DHS is responsible for executing relevant provisions of

the Executive Order.

       27.     Defendant Sean P. Duffy is the Secretary of DOT. Secretary Duffy is responsible

for issuing the DOT Order. He is sued in his official capacity.

       28.     Defendant United States Department of Transportation is an executive agency of

the United States federal government. DOT is responsible for initiating one of the Executive

Branch actions at issue in this lawsuit, namely the DOT Order.

       29.     Defendant United States of America is sued under 28 U.S.C. §§ 1331 and 1346,

and its sovereign immunity is waived under 5 U.S.C. § 702.

                                 FACTUAL ALLEGATIONS

A.     The City of Chelsea

       30.     The City of Chelsea, Massachusetts is located directly north of the Mystic River

across from the East Boston neighborhood of Boston, Massachusetts.         Chelsea was first settled

in 1624, established as a town in 1739, and incorporated as a city in 1857. The City of Chelsea

presently employs approximately 1,600 individuals.

       31.     Chelsea occupies a land area of just 2.5 square miles, making it the smallest city in

Massachusetts. According to the U.S. Census, Chelsea’s population, as estimated in July 2023,

numbers 38,319 residents, approximately 45% of which are foreign-born persons, the highest

percentage for any city in Massachusetts. These statistics also make Chelsea one of the most

densely populated cities in Massachusetts, second only to Somerville.
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       32.     Chelsea is a diverse, working-class community that has twice been awarded the

All-America City Award by the National Civic League in recognition of the ability of its residents

to work together to identify and tackle community-wide challenges. According to the U.S. Census,

approximately 65% of the city’s residents identify as Hispanic or Latino, and roughly 73% of the

city’s population is diverse, which includes residents who are Black, Hispanic or Latino, Asian, or

Two or More Races, among other groups. Approximately 21% of Chelsea’s residents are living

below the poverty line.

       33.     Chelsea received approximately $14.5M in federal funding for fiscal year 2024. Of

that funding, approximately $11.3M was passed through the state.           All such grants were

reimbursement-based.

       34.     Chelsea anticipates receiving approximately $8.5M in federal funding for fiscal

year 2025, of which approximately $8.47M will be passed through the state and all of which will

be reimbursement-based.

       35.     Chelsea regularly receives funds from DOJ’s Byrne JAG program, which funds

local law enforcement agencies as well as numerous other areas. The program website explains

that the program’s funding supports “prosecution, indigent defense, courts, crime prevention and

education, corrections and community corrections, drug treatment and enforcement, planning,

evaluation, technology improvement, crime victim and witness initiatives, mental health programs

and related law enforcement and corrections programs.” Chelsea has also consistently received

funds from the Bulletproof Vest Partnership (“BVP”) program, which is administered through

DOJ’s Office of Justice Programs (“OJP”).        All of these funds support Chelsea’s goal of

maintaining a safe community by supporting its police department.




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       36.     Chelsea also received $2M for a Downtown Broadway Infrastructure Improvement

Project through the Department of Housing and Urban Development (“HUD”). The project began

in summer 2024 and is set to be completed in 2027. This project will be the biggest reconstruction

effort in three decades in Downtown Broadway, which sits on the primary arterial street of Chelsea,

and will revitalize Chelsea’s “downtown” area.

       37.     Chelsea also receives significant Title I federal grant funding, approximately $4.1M

for 2025, under the federal Elementary and Secondary Education Act. The purpose of those funds

is to provide financial assistance to districts and schools with higher numbers of children from

low-income families to help ensure that they are able to meet challenging state academic standards.

Without such federal grant funding, glaring educational inequities would be exacerbated.

       38.     Chelsea began its budgeting process for fiscal year 2026 in late 2024 and anticipates

finalizing its budget by May 2025. Given the complete uncertainty the Administration has caused

with regard to federal funding, Chelsea cannot make informed decisions about how to structure its

budget. Chelsea has also partially expended certain reimbursement-based federal grants, but now

faces the possibility that it will not be reimbursed for these significant expenditures given the

Administration’s unlawful and unconstitutional conduct.

       39.     Chelsea has self-identified as a “sanctuary city” since its June 4, 2007 resolution,

which resolved that the “City of Chelsea go on record as a Sanctuary City.” The resolution noted

that “Sanctuary Cities promote a community as a safe haven for refugees and immigrants who are

currently residing in that community from other countries; and . . . do not initiate or welcome raids

that are not related to public safety and other heinous crimes.”

       40.     In 2017, the Chelsea Police Department (“Chelsea Police” or “CPD”) promulgated

General Order 2017-03, titled “Specific Role and Impact of the CPD in the Enforcement of Federal


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Civil Immigration Law By the Department of Homeland Security (DHS-ICE-ERO) With the Secure

Communities Program” (the “Chelsea Police Policy”) which CPD later amended in August 2024.

Thoughtfully drawing from the dynamics of the local community, the Chelsea Police Policy states:

               We fully realize that federal civil immigration enforcement or
               perceived enforcement by the Chelsea Police Department could
               have a “chilling effect” in our local immigrant community and could
               limit cooperation with police by members of the community at large.
               As stated, we depend on the cooperation of all of our residents and
               stakeholders including immigrants, legal and undocumented, in
               solving all sorts of crimes and in the maintenance of public order.
               Without assurances that they will not be subjected to an immigration
               investigation and possible deportation, many immigrants with
               critical information would not come forward, even when heinous
               crimes are committed against them and/or their families. . . .

               The specific immigration status of an individual or group of
               individuals in and of itself, is not and shall not be a matter of local
               police concern or subsequent enforcement action by the CPD unless
               there exists through reliable and credible information a potential
               threat to public safety and/or national security.

       41.     Likewise, the policy later states, “Accordingly, Chelsea Police Department shall

not undertake immigration-related investigations and shall not routinely inquire into the specific

immigration status of any person(s) encountered during normal police operations,” except for in

circumstances of arrests for violent felonies, already convicted felons, terrorism-related offenses,

human trafficking, and criminal gang activities. Moreover, the policy states that officers “shall

not directly participate in any such ICE tactical operation(s) solely for the civil enforcement of

federal immigration laws as part of any Detention or Arrest Team,” except for in direct response

to a request for immediate assistance on a temporary basis for officer safety purposes (e.g.,

directing traffic around officers) or for assistance in the apprehension of an individual with a

Massachusetts warrant for their arrest.




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       42.     Nothing in Chelsea’s resolutions or in the Chelsea Police Policy “seek[s] to

interfere with the lawful exercise of Federal law enforcement operations,” or “refuse[s] to comply

with 8 U.S.C. § 1373,” which are the hooks in the Executive Order and Bondi Memo, respectively.

In fact, Chelsea’s resolutions and policies make clear that they allow the efforts of federal

immigration enforcement officers to occur unimpeded. Further, they reflect no attempt to conceal,

harbor, or shield any individual from detection. Chelsea therefore should not be considered a

“sanctuary jurisdiction” under the definitions of the Executive Order or Bondi Memo.

       43.     The Administration has already initiated Immigration and Customs Enforcement

(“ICE”) raids in at least Chelsea, causing the citizens of the Plaintiff Cities (which are a stone’s

throw from one another) to live in a state of fear and chaos where their neighbors are rounded up

with little to no notice or process. These have included “collateral” arrests where there is no

suggestion or indication that the arrested individuals, who might be a roommate or might just

happen to be in the wrong place at the wrong time, pose any threat to “national security” or “public

safety,” the primary purported rationales of the Executive Order and DOJ Memos.

       44.     On Wednesday, January 22, 2025, a Fox News correspondent joined in a “ride-

along” with ICE agents during one such raid; in the resulting news segment, the ICE agents were

shown gathered outside of the popular Market Basket supermarket in Chelsea and subsequently

made a number of arrests in the vicinity, none of which Chelsea Police appear to have interfered

with. Such arrests included a “collateral” arrest of a roommate of a “main target,” confirming the

broadened focus of federal immigration enforcement efforts despite the false rhetoric of targeting

only threats to national security or public safety. And beyond the raids experienced, a severe chill

and climate of fear has been cast over Plaintiffs’ communities, preventing individuals from going

to work, school, church, the supermarket, or other places where they regularly must go.


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B.     The City of Somerville

       45.      The City of Somerville, Massachusetts is located directly south of the Mystic River

and is nestled among the Cities and Towns of Boston, Cambridge, Arlington, Medford, and Everett.

Somerville was first settled as part of Boston’s Charlestown in 1630. Somerville later separated

from Charlestown and became its own town in 1842 and incorporated as a city in 1872. The City

of Somerville presently employs approximately 2,200 individuals.

       46.      Somerville occupies a land area of just 4.1 square miles. According to the U.S.

Census, Somerville’s population, as estimated in July 2023, numbers 80,407 residents. These

statistics make Somerville the most densely populated city in Massachusetts. Approximately 25%

of Somerville’s residents are foreign-born persons and approximately 10% are living below the

poverty line.

       47.      Somerville was named the “best-run city in Massachusetts” by the Boston Globe in

2006. Somerville has been awarded the All-America City Award by the National Civic League

three times, including most recently in 2015. In 2020, Somerville’s police officers were awarded

the Medal of Valor by the Massachusetts Police Association for acts of heroism during an August

6, 2020 hostage situation in which police officers saved the life of a woman who was being held

hostage at gunpoint in Somerville.

       48.      Somerville has a diverse population, with U.S. Census data showing that roughly

30% of its population comprises residents who are Black, Hispanic or Latino, Asian, or Two or

More Races, among other groups. English is not the first language of more than 50% of students

in the Somerville Public School system, and almost 25% of students in the Somerville Public

School system are still learning English. A healthy number of Somerville’s main street businesses

that both serve the community and support the local economy are immigrant-owned—and in some

areas, more than half of storefront businesses are immigrant-owned.
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       49.     In fiscal year 2024, Somerville had a total budget of approximately $356M and

received approximately $19.4M in federal funds. Approximately $11.5M of that federal funding

was passed through the state.

       50.     In fiscal year 2025, Somerville has an annual total budget of $383M. As of now,

Somerville has received approximately $7.9M in federal funds for fiscal year 2025, of which

approximately $6.8M was passed through the state. Additionally, Somerville is eligible to receive

approximately $15.5M in reimbursements on active and open federal grants.

       51.     Somerville also participates in congressionally directed spending projects. From

fiscal year 2022 to fiscal year 2024, the city applied and/or contracted for approximately $14.7M

in federal funding. For several applications, amounting to approximately $5M, the contracts have

been executed and the funds are to be reimbursed. For another application for $2.5M, the contract

is in development. And for yet another $7M in city projects, Somerville is awaiting a funding

decision.

       52.     Like Chelsea, Somerville receives funds annually from the Bulletproof Vest

Partnership program administered by DOJ’s Office of Justice Programs, which it depends upon

for officer safety and the safety of their communities.

       53.     As another example of a recent, significant grant that is now threatened by the

Executive Order and the Administration’s actions, Somerville was recently awarded $4M from

DOT’s Safe Streets and Roads for All program in order to improve roadway safety.

       54.     Somerville moreover has outstanding federal grant requests—totaling nearly

$20M—to the Environmental Protection Agency under two different programs. The first is under

the Community Change Grant, in order to improve energy efficiency and indoor air quality in

multi-family homes in Somerville, and the second, under the Solid Waste Infrastructure for


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Recycling Grant, will help to increase and optimize Somerville’s waste management infrastructure.

These are critical health- and infrastructure-related grants.

       55.     The federal funds Somerville receives support a variety of community and public

safety services.    For example, Somerville’s homelessness prevention agencies depend on

Emergency Solutions Grant Funding and other Community Development Block public service

awards for their shelter operations, food pantry operations, and other core programs. These

programs provide critical support for residents who may otherwise have no way to escape life-

threatening single-digit temperatures, to receive emergency medical care, or to feed themselves.

       56.     Somerville began the budgeting process for fiscal year 2026 in early 2025, with the

budget expected to be finalized this May. However, Somerville cannot effectively structure its

budget for fiscal year 2026, given the complete uncertainty that the Administration has created

around federal funding. With daily upheavals and reversals of those upheavals coming from the

Administration, Somerville is unable to make informed decisions about the upcoming fiscal year.

       57.     Somerville first identified as a sanctuary city in a 1987 resolution and revised that

resolution in 1989. In 2014, pre-dating the first Trump Administration, Somerville passed a Trust

Act Ordinance to “ensure that all immigrants are able to fully participate in the civic and economic

life of their neighborhoods and nurture and grow the spirit of unity in [its] City.” Two years later,

in 2016, Somerville issued a “Reaffirmation of Sanctuary City Resolution,” resolving that “the

Somerville Board of Aldermen goes on record reaffirming our commitment as a Sanctuary/Trust

Act City.” And in 2019, Somerville passed a “Welcoming Community Ordinance” that “further

codifies existing policy and serves to reinforce the city’s ongoing commitment to the immigrant

community and Sanctuary City status.”          The ordinance provides, “The Somerville Police




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Department shall not take part in or assist with federal immigration enforcement operations,” but

makes clear, “Nothing in this ordinance shall be construed to violate any valid federal law.”

        58.     In 2022, the Somerville Police Department (“Somerville Police” or “SPD”)

promulgated General Order 143 entitled “Enforcement of Federal Immigration Law” (the

“Somerville Police Policy”). Similar to the Chelsea Police Policy, the Somerville Police Policy

begins by explaining the purpose of the policy: to encourage “all community members and

stakeholders … to seek and obtain police assistance and police protection regardless of their specific

immigration status without fear of status checks.” The policy notes that the police department “relies

upon the cooperation of all persons located in the City of Somerville to achieve important goals such

as protecting life and property, investigating and preventing crime, and resolving community

problems.” Particularly in instances of domestic violence and sexual assault, “[i]t is essential that

these victims do not feel apprehensive about coming forward with knowledge to aid investigators….”

The Policy goes on to state that “[t]he specific immigration status of an individual or group of

individuals shall not [be] a matter of concern” for the police “unless reliable and credible information

about a potential threat to public safety and/or national security exists.”

        59.     Accordingly, the policy states that the Police Department “shall not undertake

immigration-related investigations and shall not inquire into the specific immigration status of any

person(s) encountered during normal police operations.” Moreover, the policy states, “No officer

or employee of the Somerville Police Department may participate in an operation led by a federal

agency to detain persons for deportation purposes, except in response to a request to assist with

support services deemed necessary to ensure officer safety or to prevent a breach of the peace

during a federal operation.” The policy further confirms, “Somerville Police Officers WILL NOT




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have a direct role in an operation initiated by federal authorities to arrest or detain an individual

sought for an immigration violation.”

       60.     The policy also makes specific reference to the Lunn v. Commonwealth case from

the Massachusetts Supreme Judicial Court (the “SJC”) regarding civil immigration detainers. In

Lunn, the SJC held in regard to ICE detainers, which request that custodians hold individuals for

up to 48 hours after they would otherwise be entitled to release: “There is no Federal statute that

confers on State officers the power to make this kind of an arrest.” 78 N.E.3d 1143, 1146 (Mass.

2017). Moreover, “nothing in the statutes or common law of Massachusetts authorizes court

officers to make a civil arrest in these circumstances.” Id. Accordingly, the Somerville Police

Policy notes with respect to Lunn, “Consistent with Massachusetts law, no officer or employee of

the Somerville Police Department may arrest or detain an individual solely based on an ICE

detainer or ICE administrative warrant.”

       61.     More recently, in late November 2024, Somerville approved a resolution, titled

“Reaffirming Somerville’s Commitment as a Welcoming Community for Justice, Equity, and

Inclusion,” which resolved, inter alia, that “regardless of external pressures or challenges faced by

sanctuary cities, the Somerville City Council remains committed to its values of inclusion, equity,

and justice, and will not waver in supporting our immigrant neighbors, who are integral to the

strength and diversity of our community.” Somerville currently identifies as a “welcoming

community.”

       62.     The City of Somerville is dedicated to maintaining its vibrant and diverse

community, a goal that cannot be accomplished without supporting all of its residents.

Somerville’s policies strive to increase trust within the community such that residents feel safer

reporting crimes, coming forward as victims of crimes, and sharing information as witnesses of


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crimes. The city’s policies also enable residents to feel safer when they access city and school

services.

       63.     Somerville’s diligent efforts to create a safe and inclusive community have

benefited its residents. In Somerville’s “Public Safety for All Survey,” launched in September

2022, the city asked residents “about their perceptions of public safety, how it could be improved,

and where it must be improved.” The survey provided clear evidence that immigrant residents feel

both safe in their communities and respected by local police officers.

       64.     Somerville has stated that it will continue to support its community and all of its

residents. As Mayor Katjana Ballantyne stated in her State of the City Address, “We are resilient,

creative, and determined. Somerville welcomes all.”

       65.     Nothing in Somerville’s resolutions/ordinances or in the Somerville Police Policy

“seek[s] to interfere with the lawful exercise of Federal law enforcement operations” or “refuse[s]

to comply with 8 U.S.C. § 1373.” In fact, the resolutions/ordinances/policies make clear that they

allow the efforts of federal immigration enforcement officers to occur unimpeded. Further, they

reflect no attempt to conceal, harbor, or shield from detection any individual. Somerville should

therefore not be considered a “sanctuary jurisdiction” under the definitions of the Executive Order

or Bondi Memo.

C.      Round One: The First Trump Administration’s Unconstitutional Assault on
        Sanctuary Cities

       66.     At the start of his first term in January 2017, Trump issued EO 13768, titled

“Enhancing Public Safety in the Interior of the United States,” targeting what it called “sanctuary

jurisdictions,” jurisdictions that “willfully refuse” to comply with 8 U.S.C. § 1373, a statute

concerning the sharing of the immigration statuses of individuals with the Immigration and

Naturalization Service (now ICE). EO 13768 threatened to pull federal grant funding from those

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sanctuary jurisdictions and separately to take enforcement action against those jurisdictions. DOJ

subsequently conditioned the receipt of certain federal funds on compliance with 8 U.S.C. § 1373.

        67.    Shortly thereafter, in light of EO 13768’s and the DOJ conditions’ numerous

Constitutional deficiencies—including violations of the Separation of Powers, the Spending

Clause, the Fifth Amendment, and the Tenth Amendment—EO 13768 and the DOJ conditions

were preliminary enjoined by numerous district courts across the country. These rulings were later

affirmed by the vast majority of the Circuit courts to address the EO and DOJ conditions, including

the First, Third, Seventh, and Ninth Circuits (with only the Second Circuit coming out the other

way). While certain petitions for writs of certiorari were pending before the U.S. Supreme Court,

President Biden (“Biden”) began his term, having defeated Trump in the 2020 Presidential election.

On his first day in office, January 20, 2021, Biden issued Executive Order 13993, titled “Revision

of Civil Immigration Enforcement Policies and Priorities,” revoking Trump’s EO 13768

concerning sanctuary jurisdictions. Given the executive action, the parties to the pending certiorari

petitions, which included DOJ, thereafter filed joint stipulations to dismiss those cases in March

2021.

D.      Round Two: A New Unconstitutional Executive Order Is Issued by the Second Trump
        Administration and Implemented by DOJ, and Plaintiffs Suffer Immediate Harm

        1.     The New Executive Order Targets Sanctuary Jurisdictions

        68.    Trump wasted no time in launching a renewed attack on sanctuary cities after his

reelection in 2024 and subsequent inauguration in 2025. On the first day of Trump’s second term,

January 20, 2025, just hours after his inauguration, Trump unleashed a slew of Executive Orders

on wide-ranging issues. Among those Executive Orders was EO 14148, titled “Initial Recissions

of Harmful Executive Orders and Actions,” which rescinded a number of Biden-era Executive




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Orders, including a Biden EO that had itself rescinded Trump’s original EO regarding sanctuary

jurisdictions.

        69.      Trump then issued Executive Order 14159, titled “Protecting the American People

Against Invasion,” the focus of this suit. Starting from the demonstrably false premise that “many”

undocumented individuals are “committing vile and heinous acts against innocent Americans,”

and spewing other vitriol about “illegal aliens,” the Executive Order states its so-called aim of

achieving “the total and efficient enforcement” of immigration laws. Among the methods the

Executive Order states it will use to achieve this goal is to bring sanctuary cities to heel and to

force them to assist in Defendants’ efforts. Section 17 of the Executive Order, titled “Sanctuary

Jurisdictions,” provides, in full:

                 The Attorney General and the Secretary of Homeland Security shall,
                 to the maximum extent possible under law, evaluate and undertake
                 any lawful actions to ensure that so-called “sanctuary” jurisdictions,
                 which seek to interfere with the lawful exercise of Federal law
                 enforcement operations, do not receive access to Federal funds.
                 Further, the Attorney General and the Secretary of Homeland
                 Security shall evaluate and undertake any other lawful actions,
                 criminal or civil, that they deem warranted based on any such
                 jurisdiction’s practices that interfere with the enforcement of
                 Federal law.

        70.      The intent and force of the Executive Order is clear: to deprive local jurisdictions

of their constitutionally protected decision-making authority and unlawfully compel them to carry

out federal immigration enforcement. It does so by “ensur[ing]” that they “do not receive access

to Federal funds” and by threatening criminal and civil actions against them. The Attorney General

and the Secretary of Homeland Security are delegated authority “to the maximum extent possible

under the law,” and are effectively given unfettered discretion under the Executive Order.




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         2.    DOJ Implements the Executive Order: Conditioning Grants, Threatening
               Prosecution, and Freezing Funds—And DOT Joins In

         71.   The Administration acted swiftly to implement the Executive Order. The very next

day, on January 21, 2025, Acting Deputy Attorney General Emil Bove published a memorandum

to all DOJ employees, which makes clear how broadly—and illegally—the Executive Order is

intended to extend. Starting from the same faulty legal premise that resulted in court orders against

the first Trump Administration, the Bove Memo takes direct aim at sanctuary cities: “The

Supremacy Clause and other authorities require state and local actors to comply with the Executive

Branch’s immigration enforcement initiatives.” In fact, the Supremacy Clause requires no such

thing.

         72.   The Bove Memo goes on to state, in terms both excessively broad and

unconstitutionally vague, that “Federal law prohibits states and local actors from resisting,

obstructing, and otherwise failing to comply with lawful immigration-related commands and

requests.” The overbreadth of this statement is stunning: while federal law may prohibit local

actors from obstructing the enforcement of federal immigration law—which Plaintiffs do not do

and have never done—the Bove Memo claims that local actors also violate federal law if they fail

to comply with “immigration-related commands and requests.” No such law exists.

         73.   The Bove Memo provides that DOJ “shall investigate incidents involving any such

misconduct for potential prosecution,” and expressly lists three statutes:        18 U.S.C. § 371

(“Conspiracy to Commit Offense or Defraud the United States”), 8 U.S.C. § 1324 (“Bringing in

and Harboring Certain Aliens”), and 8 U.S.C. § 1373 (“Communication Between Government

Agencies and the Immigration and Naturalization Service”).            The memo notes that “the

Department of Justice will take all steps necessary to protect the public.”




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       74.     The Bove Memo also indicates that the Civil Division will work with the “newly

established Sanctuary Cities Enforcement Working Group” “to identify state and local laws,

policies, and activities that are inconsistent with Executive Branch immigration initiatives and,

where appropriate, to take legal action to challenge such laws.”

       75.     On January 23, 2025, then-acting DHS Secretary Benjamine Huffman, issued an

order titled “Finding a Mass Influx of Aliens.” In that order, Huffman “request[ed] the assistance

of State and local governments in all 50 states” in administering federal immigration law.

Although this order is framed as a “request,” the Bove Memo mandates compliance with requests

from the Executive Branch.

       76.     The Bove Memo was quickly followed by Trump’s highly publicized “funding

freeze” on all federal grants and loans, via a memo issued by the White House’s Office of

Management and Budget on January 27, 2025. As the very first example of “safeguard[ing]

valuable taxpayer resources,” the OMB memo lists the Executive Order concerning sanctuary

jurisdictions, signaling again the Administration’s crystal-clear intention to prevent sanctuary

jurisdictions from accessing federal funds to which they are entitled.

       77.     While a federal court swiftly stopped the funding freeze, and OMB rescinded its

call for a funding freeze only two days later, the Administration has since stated that only the

original memo calling for the blanket freeze had been rescinded, not its overall effort to use the

termination of federal funding as means to force local governments to assist with the Executive

Branch’s policy goals.

       78.     The Administration’s intent was subsequently reflected in a January 30, 2025 order

issued by Trump’s new DOT secretary, Sean Duffy, who stated that for “all DOT grants, loans,

contracts, and DOT-supported or -assisted State contracts,” it would now be DOT policy to de-


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“prioritize” such funding for sanctuary jurisdictions by prioritizing “projects and goals that . . .

require local compliance or cooperation with Federal immigration enforcement and with other

goals and objectives specified by the President of the United States or the Secretary.”

       79.     The relentless assault on sanctuary cities, using federal funding as a weapon to

compel compliance, continued apace. On February 5, 2025, Trump’s pick for Attorney General,

Defendant Pamela Bondi, was confirmed by the U.S. Senate. On her first day in office, Bondi

signed a memo that took direct aim at sanctuary cities. Titled “SANCTUARY JURISDICTION

DIRECTIVES,” the memo immediately “pause[d] the distribution of all [DOJ] funds until a

review has been completed.” The Bondi Memo unequivocally stated, “Sanctuary jurisdictions

should not receive access to federal grants administered by the Department of Justice.” It also

further defined “sanctuary jurisdiction,” providing that “so-called ‘sanctuary jurisdictions’ include

state or local jurisdictions that refuse to comply with 8 U.S.C. § 1373, refuse to certify compliance

with § 1373, or willfully fail to comply with other applicable federal immigration laws,” without

specifying which “other” laws it was contemplating. Section 1373(a) provides that “a Federal,

State, or local government entity or official may not prohibit, or in any way restrict, any

government entity or official from sending to, or receiving from, the Immigration and

Naturalization Service information regarding the citizenship or immigration status, lawful or

unlawful, of any individual.”

       80.     The Bondi Memo’s language is consistent with the directive in the Executive Order

to withhold federal funds from “so called ‘sanctuary’ jurisdictions” and reveals the DOJ’s intention

to condition all department grants on compliance with “applicable federal immigration laws.” The

Bondi Memo conditioned DOJ grants on compliance with 8 U.S.C. § 1373. It additionally stated




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that future grants would be “tailor[ed]” to “reduce efforts by state or local jurisdictions to

undermine a lawful system of immigration.”

        81.     The Bondi Memo also reiterated DOJ’s earlier threat to prosecute sanctuary cities.

It called for prosecuting violations of the same three statutes referenced in the Bove Memo—18

U.S.C. § 371 and 8 U.S.C. §§ 1324 and 1373—and notably expanded the scope of investigations

to include any incident in which there is an “effort to obstruct” an “immigration-related directive

from the Executive Branch.” Along that vein, Bondi released another memo on the same day that

similarly called for the prosecution of “state and local actors” if they resist, obstruct, or “otherwise

fail[] to comply with lawful immigration-related commands and requests.”

        82.     To substantiate its threats, DOJ has moved quickly to initiate enforcement. On

February 6, 2025, DOJ filed a civil complaint against the State of Illinois and the City of Chicago,

among other defendants, in United States v. Illinois, et al., No. 1:25-cv-1285 (N.D. Ill. Feb. 6,

2025), ECF No. 1. The Illinois complaint demonstrates just how broadly Defendants are asserting

their power under the Supremacy Clause, claiming that local jurisdictions violate the Constitution

if they prohibit: detaining an individual on the basis of a detainer or civil immigration warrant, see

id. ¶ 8; providing information such as custodial status and release date about noncitizens in their

custody, see id. ¶ 9; assisting with immigration enforcement activities, see id. ¶ 43; or inquiring

about an individual’s citizenship or immigration status, see id. ¶ 44.

        83.     Less than a week later, DOJ filed a second lawsuit, this time challenging one of

New York’s laws. On February 12, 2025, DOJ filed a civil complaint against the State of New

York and various local representatives, in United States v. New York, et al., No. 1:25-cv-00205

(N.D.N.Y. Feb. 12, 2025), ECF No. 1. Similar to the Illinois complaint, the New York complaint

broadly asserts power under the Supremacy Clause, claiming that New York’s “Green Light Law”


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violates the Constitution by: prohibiting the New York DMV from sharing DMV “records or

information” with immigration officials in the absence of a court order or warrant, see id. ¶ 30;

informing individuals whose information has been requested by immigration officials of the

request, see id. ¶ 32; and imposing limitations on those who have access to or receive such “records

or information,” see id. ¶ 33.

        84.      The New York lawsuit will hardly be the last of DOJ’s enforcement actions. When

Bondi announced the lawsuit, she indicated “If you don’t comply with federal law, we will hold

you accountable . . . We did it to Illinois, strike one. Strike two is New York. And if you are a

state not complying with federal law, you’re next. Get ready.”

        85.      Trump later issued another Executive Order on February 19, 2025, titled “Ending

Taxpayer Subsidization of Open Borders,” in which he ordered, at Section 2(a)(ii), that “the head

of each executive department or agency (agency) shall . . . ensure . . . that Federal payments to

States and localities do not, by design or effect, facilitate the subsidization or promotion of illegal

immigration, or abet so-called ‘sanctuary’ policies that seek to shield illegal aliens from

deportation.” The Subsidization Executive Order was geared toward all federal agencies and

targets funds that, inter alia, aid sanctuary policies.

        86.      Further, Trump, as well as executive officers and individuals in Trump’s orbit, have

made various public statements that align with the Administration’s intent to go after sanctuary

jurisdictions, both before and after Trump began his second term:

              a. On September 21, 2024, Trump promised in a speech in North Carolina, “As soon
                 as I take office, we will immediately surge federal law enforcement to every city
                 that is failing . . . I will ask Congress to pass a law outlawing sanctuary cities
                 nationwide, and we demand the full weight of the federal government on any
                 jurisdiction that refuses to cooperate with ICE.”

              b. After Trump’s reelection, on November 20, 2024, Tom Homan, Trump’s “border
                 czar,” expressly threatened sanctuary cities during an appearance on television,

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                   stating that “they need to get the hell out of the way cuz we’re comin’, we’re gonna
                   do it.”

                c. On January 22, 2025, Trump was interviewed by Sean Hannity of Fox News, during
                   Hannity asked Trump about “sanctuary cities” and referenced the “federal funds”
                   they receive. Trump, in response, stated, “Yes, we’re trying to get rid of them, and
                   we’re trying to end them,” referring either to the federal funds or to the sanctuary
                   cities themselves (or both). When specifically asked by Hannity, “But would you
                   cut off their money?” Trump confirmed that he might well “have to do that”
                   because “sometimes that’s the only thing you can do.”

                d. On January 31, 2025, Defendant Kristi J. Noem, the newly confirmed Secretary of
                   DHS, appeared on Fox News and said in response to a question about whether the
                   Administration would impose consequences on sanctuary cities, “Of course we
                   will.” Continuing, she stated, “The reality is, these sanctuary cities, their laws have
                   caused us problems. They are limiting some of our tools that we want in our
                   toolbox, but we’re going to continue to go in and use our operations.”

                e. On February 3, 2025, Tom Homan reiterated his threats against sanctuary cities and
                   seemingly claimed to control the courts, stating: “We’re going to sue ‘em . . . Look,
                   we’ve got the Supreme Court; that’s what President Trump wanted to do. He will
                   end sanctuary cities.”

          87.      Individually and cumulatively, these actions by Defendants amount to a concerted

effort to intimidate and attack Plaintiffs and others like them to ignore their locally determined

policies and priorities, bend to the will of the federal government, and assist with Defendants’

mass deportation plans—all in derogation of Plaintiffs’ rights.

          3.       Plaintiffs Are Harmed by Defendants’ Illegal Intimidation Campaign.

          88.      As a direct result of these unlawful Executive actions, Plaintiffs have been harmed.

Beyond the freezing of DOJ funds, the Executive Orders, the implementing DOJ Memos, and the

DOT Order create significant uncertainty for Plaintiffs in a manner that is paralyzing for municipal

action.

          89.      Plaintiffs rely on various sources of federal funding—in the range of tens of

millions of dollars—to fill critical budgetary needs in the management of their respective cities.




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Plaintiffs face the very real and imminent termination of federal funding, which has already

happened with respect to DOJ funds and will immediately result in a slew of harms to Plaintiffs:

       a.      Many of the federal grant funds that Plaintiffs receive are reimbursement-based,
               which means that Plaintiffs are immediately in the red if no federal grant monies
               are forthcoming, and face a “fiscal cliff”;

       b.      Plaintiffs are grossly impeded in their abilities to spend funds for their communities
               in light of both the actual and imminent termination of access to federal funding;

       c.      Plaintiffs face breaches of a number of existing contracts that they entered into in
               reliance on approved federal grant monies;

       d.      Plaintiffs face the termination of significant numbers of city staff on their respective
               payrolls; and

       e.      Plaintiffs further face the termination of certain critical services they provide to
               their respective communities in connection with those federal grant monies.

       90.     For example, Plaintiffs receive and rely on certain critical DOT grants to improve

infrastructure and safety in their communities. These DOT grants are in turn tied to express

contracts with general contractors and subcontractors. If Plaintiffs have the rug of federal funding

pulled out from underneath them—as the Administration has promised it will imminently do—

Plaintiffs will be forced to breach those existing contracts and subject themselves to suits for

breach of contract and related claims.

       91.     Somerville was recently awarded $4M from DOT’s Safe Street and Roads for All

program in order to improve roadway safety. Chelsea was similarly awarded a significant grant

from that same program recently for the same purpose.

       92.     Plaintiffs additionally receive and rely on DOJ grants to help fund their police

departments and promote public safety in their communities. Chelsea regularly receives funds

from DOJ’s Byrne JAG program as well as its Bulletproof Vest Partnership program administered

through DOJ’s Office of Justice Programs. Somerville similarly receives funding annually from

the BVP program; these funds are reimbursement-based and so cutting off access to federal funds

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immediately harms Plaintiffs and puts them in the red with respect to those grants, as they have

not been fully expended.        All of these funds support Plaintiffs’ goal of maintaining safe

communities by supporting their police departments. The Administration has constantly parroted

the phrase “public safety,” but Plaintiffs’ loss of access to these important federal funding sources

endangers their communities and further puts the lives of law enforcement officers at risk.

        93.     As just one illustration of the critical services that Plaintiffs would be forced to

terminate—for lack of federal grant funding—are initiatives combating homelessness in their

communities through, inter alia, prevention, rapid re-housing, and emergency shelters. This is

even more critical for Plaintiffs in light of the brutally cold winters in the greater Boston area. If

Plaintiffs are forced to terminate those critical services, the result will be that people living in their

communities will die. Plaintiffs can envision no example of greater concretized harm than this.

        94.     Plaintiffs have also already conducted internal analyses in the imminent event of

broader federal grant funding being frozen, and they have determined that they would each need

to terminate significant portions of city staff on their payrolls (a consistently accruing expense),

which lack of personnel would immediately damage Plaintiffs’ ability to effectively govern and

manage their respective cities.

        95.     As a result of the extreme uncertainty and the Administration’s threats of imminent

funding freezes—as well as the existing freeze of DOJ funding—Plaintiffs have been deprived of

their long-standing expectations that federal funding sources will honor their commitments, which

are critical for responsible decision-making and local resource allocation.             Plaintiffs make

significant expenditures relating to federal, reimbursement-based grant funding (the bulk of

Plaintiffs’ federal funding), but there is no longer any guarantee of reimbursement under the




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Executive Order and Bondi Memo, which each purports to “ensure that . . . sanctuary

jurisdictions . . . do not receive access to Federal funds.”

       96.     Giving the time-limited nature of many of the funds committed to Plaintiffs,

Plaintiffs face a severe squeeze. If they spend and are not reimbursed by the federal government,

they are harmed. Yet, if they refrain from spending out of fear of non-reimbursement and cannot

complete certain projects in time, they will forfeit those funds and are still harmed. No matter

what Plaintiffs do, they are injured by the Trump Administration’s actions.

       97.     The necessary effects of the imminent termination of federal funding fly in the very

face of the Administration’s stated rationale of “enhancing public safety” and would in fact

fundamentally impair Plaintiffs’ abilities to protect the public safety. What the Administration is

doing is punishing sanctuary cities by vindictively withdrawing funding—and issuing

destabilizing threats—even if those funds have nothing to do with their stated aims and even if

Congress has given no directive toward that end. The Administration cannot legislate, as that is

the domain of Congress, and the Executive Orders and implementing memos represent blatantly

unconstitutional efforts to harm Plaintiffs and their communities.

       98.     Plaintiffs seek declaratory and injunctive relief so that their local efforts are no

longer stymied by the federal government and so that they may continue their important work

without the fear of a fiscal cliff or crisis, and without fear of significant layoffs to city personnel

who provide needed and critical services. They seek relief so that they can continue to provide

essential services to their communities, including to combat the worst outcomes for the most

vulnerable populations (such as the homeless, or school children who rely on safe roads to get to

school), instead of having to cut such services. They seek relief so that they can continue on their

important projects, such as Chelsea’s multi-million-dollar project to revitalize its downtown area


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or Somerville’s multi-million-dollar project to improve the safety of its roadways and the sanitary

functioning of its sewers. And above all, they seek relief so that they can continue to ensure the

public safety of all individuals and families in their communities, regardless of their immigration

status. This Court must not allow the Executive Order, nor the Bondi Memo implementing it, nor

the DOT Order, nor the Subsidization Executive Order, to stand.

                                      CAUSES OF ACTION

                                           COUNT ONE
                                       (Separation of Powers)

        99.     Plaintiffs repeat and incorporate by reference each allegation of the prior paragraphs,

as if fully set forth herein.

        100.    The Constitution provides that “All legislative Powers herein granted shall be

vested in a Congress of the United States, which shall consist of a Senate and House of

Representatives” and grants Congress alone the power to spend for the general welfare of the

United States. U.S. Const. art. I, secs. 1, 8. These clauses vest Congress with legislative powers

and establishes that it is Congress, not the President or any Executive Branch agency, that has the

constitutional authority to impose conditions on the receipt of federal funds.

        101.    When Congress does delegate its spending powers, it must do so clearly and

unmistakably, while providing specific guidance as to the conditions the Executive Branch may

attach to receipt of federal funds. A federal agency “has no power to act . . . unless and until

Congress confers power upon it.” Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986).

“When the [Executive] takes measures incompatible with the express or implied will of Congress,




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[its] power is at its lowest ebb.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637

(1952) (Jackson, J., concurring).

        102.    As such, the Executive Branch cannot place conditions on funds already allocated

by Congress, without Congress’s express authorization. The Executive Order, Bondi Memo, DOT

Order, and Subsidization Executive Order violate the Separation of Powers by imposing conditions

on funding—which Congress did not authorize—namely that Plaintiffs do not interfere with

federal immigration enforcement and that they comply with 8 U.S.C. § 1373 and other, unspecified

federal immigration laws.

        103.    Moreover, the Executive Order authorizes the Attorney General and the Secretary

of DHS to impose penalties on states and localities, again without any regard to whether Congress

authorized either entity to impose them.

        104.    The Executive Order, Bondi Memo, DOT Order, and Subsidization Executive

Order authorize conditions and penalties that Congress did not envision. As applied to Plaintiffs,

this overreach by the Executive Branch creates uncertainty and deeply disrupts Plaintiffs’ ability

to budget daily governance needs and implement their law enforcement priorities.

                                          COUNT TWO
                                         (Spending Clause)

        105.    Plaintiffs repeat and incorporate by reference each allegation of the prior paragraphs,

as if fully set forth herein.

        106.    The Spending Clause provides, “The Congress shall have Power To lay and collect

Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common Defense and

general Welfare of the United States.” U.S. Const. art. I, sec. 8, cl. 1. This clause vests the




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spending power in Congress alone, authorizing it to raise and spend money for the “general

Welfare” of the United States.

       107.    There are four significant limitations on the Spending Power. First, any conditions

imposed must be identified unambiguously. Pennhurst State Sch. and Hosp. v. Halderman, 451

U.S. 1, 17 (1981). Second, the conditions must not be coercive. Nat’l Fed’n of Indep. Bus. v.

Sebelius, 567 U.S. 519, 577-78 (2012). Third, the conditions must be related to the federal interest

in the program. South Dakota v. Dole, 483 U.S. 203, 207 (1987). Fourth, the conditions must not

induce unconstitutional actions on the part of the recipient. Id. at 210-11.

       108.    Even if Congressional authority for the conditions is found, the Executive Orders

and related memos violate the Spending Clause because they do not comply with the limitations

placed on the Spending Power:

       a.      The conditions imposed by the Executive Order, Bondi Memo, DOT Order, and
               Subsidization Executive Order are ambiguous, as they fail to specify with clarity
               which laws Plaintiffs will be required to comply with, nor do they specify which
               grants will be conditioned. Furthermore, the conditions placed on federal grants
               are constitutionally infirm because they were not established unambiguously prior
               to the funds being granted; as such, Plaintiffs were unable to make knowing,
               cognizant decisions about whether to accept the federal grants. See Pennhurst State
               Sch. & Hosp., 451 U.S. at 24-25.

       b.      The amount of federal funds being threatened—tens of millions of dollars—is
               unconstitutionally coercive. The Administration’s conduct is particularly harmful
               for smaller cities like Plaintiffs, whose residents would be grievously harmed by
               any termination of federal funding. Plaintiffs rely on various key sources of federal
               funding to fill critical budgetary needs in the management of their respective cities.
               In addition, as smaller jurisdictions, their abilities to defend against criminal and
               civil prosecutions are relatively limited.

       c.      There is no connection between the conditions imposed mandating non-
               interference with federal immigration enforcement (including compliance with 8




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               U.S.C. § 1373) and the federal funds being threatened (e.g., the DOT funds), as is
               constitutionally required. See Dole, 483 U.S. at 211.

       d.      The conditions imposed would also require Plaintiffs to act unconstitutionally by
               detaining individuals based on civil detainers without a finding of probable cause
               and in contravention of Massachusetts law.

       109.    As applied to Plaintiffs, the retroactive conditions placed on federal grants in the

Executive Order, Bondi Memo, DOT Order, and Subsidization Executive Order, the threatened

loss of federal funds, the lack of nexus between the Executive Branch directives and the federal

funds being threatened, and the unconstitutional actions the conditions induce, represent

unconstitutional coercion in violation of the Spending Clause.

                                      COUNT THREE
                           (Tenth Amendment – Anti-Commandeering)

       110.    Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs as if fully set forth herein.

       111.    The Tenth Amendment of the U.S. Constitution provides, “The powers not

delegated to the United States by the Constitution, nor prohibited by it to the States, are reserved

to the States respectively, or to the people.” Accordingly, “[t]he Constitution simply does not

give Congress the authority to require the States to regulate,” much less give the Executive

Branch such authority. Nat’l Fed’n of Indep. Bus., 567 U.S. at 522-23 (quoting New York v.

United States, 505 U.S. 144, 178 (1992)). Therefore, the federal government cannot compel state

or local governments to enact or enforce a federal regulatory program. On their face, the

Executive Orders and related memos violate the Tenth Amendment by attempting to use the

spending power to force Plaintiffs into carrying out federal immigration laws and policies.

       112.    The Executive Order, Bondi Memo, DOT Order, and Subsidization Executive

Order purport to grant executive officers the authority to penalize state and local governments


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that are deemed to interfere with the enforcement of federal law, and thus they enable the federal

government to force state and local governments to adopt policies and practices that support or

align with federal policies, to the subordination of state and local government interests.

       113.    By withholding federal funds and directing enforcement against Plaintiffs unless

they comply with federal immigration laws and policies, Defendants are attempting to compel

Plaintiffs to enact a federal regulatory program in violation of the anti-commandeering principle

of the Tenth Amendment.

                                         COUNT FOUR
                                 (Fifth Amendment – Due Process)

       114.         Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as fully set forth herein.

       115.        Under the Fifth Amendment, the federal government may not deprive Plaintiffs

of property without “due process of law.”

       116.        Plaintiffs have a protectable property interest in the federal funding for which

they have applied and been approved. A large portion of the sources of federal funding are

reimbursement-based, which means that Plaintiffs have spent money in reliance on federal funding,

which promises already have been—and will further imminently be—pulled out from underneath

them, resulting in direct harm to Plaintiffs.

       117.        The Executive Order deprives Plaintiffs of their procedural due process rights

because it grants the Attorney General and the Secretary of Homeland Security unbounded

discretion to “ensure that so-called ‘sanctuary’ jurisdictions . . . do not receive access to Federal

funds.” Further, those executive officials are empowered to “undertake any other lawful actions,

criminal or civil, that they deem warranted.”



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       118.        Similarly, the Subsidization Executive Order empowers “the head of each

executive department or agency” to “ensure . . . that Federal payments to States and localities do

not, by design or effect, facilitate the subsidization or promotion of illegal immigration, or abet so-

called ‘sanctuary’ policies that seek to shield illegal aliens from deportation.”

       119.        Those Executive Orders, as well as the Bondi Memo and DOT Order, do not

provide Plaintiffs or other similarity situated jurisdictions with any path to seek review or to

challenge actions taken under their authority. This pre- and post-deprivation opportunity to be

heard violates the Fifth Amendment’s guarantee of due process.

       120.        The Executive Order, Bondi Memo, DOT Order, and Subsidization Executive

Order deprive Plaintiffs of their interests through the express conditions these directives place on

pre-existing federal funds. Plaintiffs have been deeply disrupted for weeks now as a result of their

inability to spend further funds for the credible fear of the Administration’s imminent pulling of

federal funding, which has occurred now with respect to DOJ funds. Moreover, there was no

notice as to this deprivation, and no way to review or challenge the government’s decision to

withhold this property.

                                         COUNT FIVE
                             (Fifth Amendment – Void for Vagueness)

       121.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as fully set forth herein.

       122.        Also falling under the Fifth Amendment is the void-for-vagueness doctrine. A

federal law is unconstitutionally vague if it “fails to provide a person of ordinary intelligence fair

notice of what is prohibited or is so standardless that it authorizes or encourages seriously

discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008).

       123.        The Executive Order, Bondi Memo, DOT Order, and Subsidization Executive

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Order are unconstitutionally vague.     It is impossible for cities to determine if they fit into what

the Executive Order terms “so-called ‘sanctuary’ jurisdictions,” whether they are subject to its

penalties, or what penalties might be imposed if they are determined to be sanctuary jurisdictions.

The Executive Order purports to define sanctuary jurisdictions as those jurisdictions “which seek

to interfere with the lawful exercise of Federal law enforcement operations,” but this is no clearer.

The Executive Order also gives the Attorney General and the Secretary of the Department of

Homeland Security virtually unfettered discretion to determine whether jurisdictions comply or do

not comply with the Executive Order.

       124.        The Bondi Memo fares no better. While it identifies 8 U.S.C. § 1373 as a basis

for “sanctuary jurisdiction” status, the memo vaguely references “other” federal immigration laws

as a basis, without spelling out which laws these are. As a result, there is a high risk of arbitrary

enforcement, as DOJ can self-servingly conjure some violation of federal immigration law

(whether true or not), with no notice to Plaintiffs or similarly situated jurisdictions, as a basis for

withholding significant funds to which those jurisdictions are already entitled. Also, while

Plaintiffs’ position is that they fully comply with 8 U.S.C. § 1373, there is a significant risk of

arbitrary enforcement in whether “refus[ing] to comply” accords with the DOJ’s interpretation of

compliance, rather than Plaintiffs’ correct interpretation.

       125.        The DOT Order similarly states that it will prioritize “projects and goals that . . .

require local compliance or cooperation with Federal immigration enforcement and with other

goals and objectives specified by the President of the United States or the Secretary.” This

suggests that DOT has the aim of de-prioritizing sanctuary jurisdictions, but it is vague in

referencing compliance/cooperation with immigration enforcement and with “other goals and

objectives,” to the point that it fails to provide notice to Plaintiffs and others regarding what


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specific conduct would cause DOT to de-prioritize (i.e., defund) their projects.

        126.        Like the Executive Order, the Subsidization Executive Order vaguely

references “so-called ‘sanctuary’ policies” without defining them, except to modify such policies

by adding, “that seek to shield illegal aliens from deportation,” which is not only vague but also

not what Plaintiffs’ sanctuary policies seek to do. Similarly, the reference to “by design or effect”

is vague because it fails to describe how that effect may come about. As a result of these sources

of vagueness, there is a high risk of arbitrary enforcement against Plaintiffs and other localities.

        127.        The Executive Order, Bondi Memo, and DOT Order, and Subsidization

Executive Order are unconstitutionally vague within the meaning of the Due Process Clause of the

Fifth Amendment because they fail to clarify what is required of Plaintiffs and what consequences

may occur, and thus encourage arbitrary enforcement by failing to describe their applicability and

effects with sufficient particularity.

                                         COUNT SIX
        (Declaratory Relief – The Executive Order, Bondi Memo, DOT Order, and Subsidization
                             Executive Order Are Unconstitutional)

        128.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as if fully set forth herein.

        129.        Plaintiffs seek declaratory relief that the Executive Order, the Bondi Memo

implementing it, the DOT Order, and the Subsidization Executive Order are unconstitutional

because they violate the Separation of Powers, the Spending Clause, the Tenth Amendment and

its anti-commandeering doctrine, and the Fifth Amendment and its Due Process Clause (and

related void-for-vagueness doctrine).

        130.        An actual controversy presently exists between Plaintiffs and Defendants as to

whether the Executive Order, Bondi Memo, DOT Order, and Subsidization Executive Order are


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constitutional. A judicial determination resolving this controversy is necessary and appropriate at

this time.

                                         COUNT SEVEN
         (Declaratory Relief – Plaintiffs Are Not “Sanctuary Jurisdictions” Under the Executive
                                              Order)

        131.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as fully set forth herein.

        132.        Plaintiffs further seek a declaration that their policies, on their face, do not “seek

to interfere with the lawful exercise of Federal law enforcement operations,” per the language of

the Executive Order.

        133.        Nothing in Plaintiffs’ respective resolutions or ordinances or implementing

policies states any intention to interfere with the lawful exercise of federal immigration

enforcement, but Defendants ignore that reality.

        134.        An actual controversy presently exists between Plaintiffs and Defendants as to

whether Plaintiffs are a “sanctuary jurisdiction” as defined by the Executive Order. A judicial

determination resolving this controversy is necessary and appropriate at this time.

                                        COUNT EIGHT
                  (Declaratory Relief – Plaintiffs Comply with 8 U.S.C. § 1373)

        135.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as if fully set forth herein.

        136.        Plaintiffs similarly seek a declaration that their resolutions or ordinances or

implementing policies comply with 8 U.S.C. § 1373, and they should therefore not be considered

a “sanctuary jurisdiction” as defined under the Bondi Memo.

        137.        Plaintiffs comply with 8 U.S.C. § 1373. Neither Plaintiffs’ sanctuary city

resolutions/ordinances nor their police policies “prohibit, or in any way restrict, any government

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entity or official from sending to, or receiving from, the Immigration and Naturalization Service

information regarding the citizenship or immigration status, lawful or unlawful, of any individual,”

as Section 1373 requires. That Plaintiffs’ police departments do not routinely inquire about

immigration status in ordinary matters or affirmatively assist in federal immigration enforcement

operations like ICE raids (beyond ensuring officer safety) does not constitute a violation of that

federal statute.

        138.        An actual controversy presently exists between Plaintiffs and Defendants as to

whether Plaintiffs’ resolutions/ordinances or implementing policies comply with 8 U.S.C. § 1373.

A judicial determination resolving this controversy is necessary and appropriate at this time.

                                         COUNT NINE
       (Declaratory Relief – Plaintiffs Are Not Criminally Liable Under the DOJ Memos)

        139.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as if fully set forth herein.

        140.        Plaintiffs also seek a declaration that they cannot be held criminally liable under

the DOJ Memos (the Bove and Bondi Memos), at least in terms of the limited statutes DOJ cites,

merely by virtue of Plaintiffs’ sanctuary policies and adherence thereto.

        141.        The DOJ Memos cite 18 U.S.C. § 371 (“Conspiracy to Commit Offense or

Defraud the United States”), 8 U.S.C. § 1324 (“Bringing in and Harboring Certain Aliens”), and

8 U.S.C. § 1373 (“Communication Between Government Agencies and the Immigration and

Naturalization Service”).

        142.        The last of these, 8 U.S.C. § 1373, is not a criminal statute. The first of these,

18 U.S.C. § 371, is a conspiracy statute that requires the predicate commission of a crime that is

the object of the conspiracy. That leaves 8 U.S.C. § 1324: Plaintiffs cannot be liable under that

criminal statute as Plaintiffs neither bring, transport, nor induce aliens to enter into the United

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States. Moreover, Plaintiffs do not, with knowledge or reckless disregard, “conceal[], harbor[], or

shield[] from detection, or attempt[] to conceal, harbor, or shield from detection” aliens. Nor do

Plaintiffs aid and abet such crimes or conspire to commit such crimes. This is all plain from

Plaintiffs’ resolutions/ordinances and police policies, which make clear that they will not

affirmatively inquire about immigration status on a routine basis and will not affirmatively provide

assistance unless legally required, but do not otherwise obstruct or interfere with any lawful

immigration commands.

       143.        An actual controversy presently exists between Plaintiffs and Defendants as to

whether Plaintiffs can be held criminally liable under the DOJ Memos. A judicial determination

resolving this controversy is necessary and appropriate at this time.

                                           COUNT TEN
         (Violation of the Administrative Procedure Act – Arbitrary and Capricious; Contrary to
                        the Constitution; In Excess of Statutory Authority)

       144.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as fully set forth herein.

       145.        Defendant DOJ is an “agency” as defined in the APA, 5 U.S.C. § 551(1), and

the Bondi Memo is an agency action subject to review under the APA.

       146.        Final agency actions (1) “mark the ‘consummation’ of the agency’s decision-

making process” and (2) are ones “by which ‘rights or obligations have been determined,’ or from

which ‘legal consequences will flow.’” Bennett v. Spear, 520 U.S. 154, 178 (1997).

       147.        The Bondi Memo is a final agency action because it announces a final decision

to pause DOJ funding on a blanket basis at a certain time and thus marks the consummation of the

DOJ’s decision-making process. Further, the Bondi Memo is an action determining rights or

obligations or from which legal consequences will flow because it exercises a purported authority


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held by DOJ to stop funding directed by Congress that would be provided but for the Bondi Memo.

       148.        Under the APA, a “court shall. . . hold unlawful and set aside agency actions,

findings, and conclusions found to be. . . arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

       149.        “An agency action qualifies as ‘arbitrary’ or ‘capricious’ if it is not ‘reasonable

and reasonably explained.” Ohio v. EPA, 603 U.S. 279, 292 (2024) (quoting FCC v. Prometheus

Radio Project, 592 U.S. 414, 423 (2021)). A court must therefore “ensure, among other things,

that the agency has offered ‘a satisfactory explanation for its action[,] including a rational

connection between the facts found and the choice made.’” Id. (quoting Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 41 (1983)).

       150.        The Bondi Memo fails to provide any reasonable explanation for the decision

to withhold all DOJ funds from Plaintiffs, a disproportionately broad action with immediate

consequences to Plaintiffs. It also fails to explain the decision to condition and withhold funds

that Congress had already appropriated for disbursement.

       151.        Also under the APA, a “court shall. . . hold unlawful and set aside agency

actions, findings, and conclusions found to be. . . contrary to constitutional right, power, privilege

or immunity.” 5 U.S.C. § 706(2)(B).

       152.        As described above, the Bondi Memo violates bedrock constitutional provisions

and principles, including the Separation of Powers, the Spending Clause, the anti-commandeering

principle enshrined in the Tenth Amendment, and the Fifth Amendment’s procedural due process

and vagueness doctrines.

       153.        The APA also requires that a “court shall. . . hold unlawful and set aside agency

actions, findings, and conclusions found to be . . . in excess of statutory jurisdiction, authority, or


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limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

       154.        Defendants may exercise only authority granted to them by statute. No law or

provision of the Constitution authorizes DOJ to withdraw properly obligated federal funds to

impose extra-statutory conditions not authorized by Congress. The blanket freeze of DOJ funds

and the conditions placed on all DOJ grants are blatantly illegal.

       155.        Plaintiffs therefore ask the Court to declare, under 5 U.S.C. § 706 and 28 U.S.C.

§ 2201, that the Bondi Memo violates the APA because it is arbitrary and capricious, because it is

contrary to constitutional rights, powers, privileges, or immunities; vacate the Bondi Memo under

5 U.S.C. § 706; provide preliminary relief under 5 U.S.C. § 705; and preliminarily and permanently

enjoin Defendants from implementing or enforcing the Bondi Memo.

                                       COUNT ELEVEN
         (Violation of the Administrative Procedure Act – Arbitrary and Capricious; Contrary to
                        the Constitution; In Excess of Statutory Authority)

       156.        Plaintiffs repeat and incorporate by reference each allegation of the prior

paragraphs, as fully set forth herein.

       157.        Defendant DOT is an “agency” as defined in the APA, 5 U.S.C. § 551(1), and

the DOT Order is an agency action subject to review under the APA.

       158.        Final agency actions (1) “mark the ‘consummation’ of the agency’s decision-

making process” and (2) are ones “by which ‘rights or obligations have been determined,’ or from

which ‘legal consequences will flow.’” Bennett, 520 U.S. at 178.

       159.        The DOT Order is a final agency action because it announces a final decision

to de-prioritize DOT funding to sanctuary jurisdictions and thus marks the consummation of the

DOT’s decision-making process. Further, the DOT Order is an action determining rights or

obligations or from which legal consequences will flow because it exercises a purported authority


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held by DOT to stop funding directed by Congress that would be provided but for the DOT Order.

       160.        Under the APA, a “court shall. . . hold unlawful and set aside agency actions,

findings, and conclusions found to be. . . arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

       161.        “An agency action qualifies as ‘arbitrary’ or ‘capricious’ if it is not ‘reasonable

and reasonably explained.” Ohio, 603 U.S. at 292 (quoting Prometheus Radio Project, 592 U.S.

at 423). A court must therefore “ensure, among other things, that the agency has offered ‘a

satisfactory explanation for its action[,] including a rational connection between the facts found

and the choice made.’” Id. (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at 41).

       162.        The DOT Order fails to provide any reasonable explanation for the decision to

deprioritize DOT funds for sanctuary jurisdictions. There is a qualitative disconnect between the

threatened DOT funding and immigration-related policies: sanctuary policies have nothing to do

with transportation and the DOT Order fails to explain any link between them. Moreover, the

DOT Order nonsensically prioritizes other projects such as those for “communities with marriage

and birth rates higher than the national average.”

       163.        Also under the APA, a “court shall. . . hold unlawful and set aside agency

actions, findings, and conclusions found to be. . . contrary to constitutional right, power, privilege

or immunity.” 5 U.S.C. § 706(2)(B).

       164.        As described above, the DOT Order violates bedrock constitutional provisions

and principles, including the Separation of Powers, the Spending Clause, the anti-commandeering

principle enshrined in the Tenth Amendment, and the Fifth Amendment’s procedural due process

and vagueness doctrines.

       165.        The APA also requires that a “court shall. . . hold unlawful and set aside agency


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actions, findings, and conclusions found to be . . . in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

       166.           Defendants may exercise only authority granted to them by statute. No law or

provision of the Constitution authorizes DOT to withdraw properly obligated federal funds to

impose extra-statutory conditions not authorized by Congress. DOT’s de-prioritization of DOT

funds for sanctuary jurisdictions, which in effect is defunding, is blatantly illegal.

       167.           Plaintiffs therefore ask the Court to declare, under 5 U.S.C. § 706 and 28 U.S.C.

§ 2201, that the DOT Order violates the APA because it is arbitrary and capricious, because it is

contrary to constitutional rights, powers, privileges, or immunities; vacate Section 5(f) of the DOT

Order under 5 U.S.C. § 706; provide preliminary relief under 5 U.S.C. § 705; and preliminarily

and permanently enjoin Defendants from implementing or enforcing the DOT Order.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants for each of the causes of

action raised herein. Plaintiffs respectfully request that this Court enter judgment in their favor

and that the Court:

       1.      Declare that the Section 17 of the Executive Order, the Bondi Memo implementing

it, Section 5(f) of the DOT Order, and Section 2(a)(ii) of the Subsidization Executive Order are

unlawful and unconstitutional on their face and as applied;

       2.      Declare that Plaintiffs do not “seek to interfere with the lawful exercise of Federal

law enforcement operations” per the language of the Executive Order merely by virtue of their

sanctuary policies and adherence thereto;

       3.      Declare that Plaintiffs do not violate 8 U.S.C. § 1373 merely by virtue of their

sanctuary policies and adherence thereto;


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       4.      Declare that Plaintiffs cannot be held criminally liable under the DOJ Memos

merely by virtue of Plaintiffs’ sanctuary policies and adherence thereto;

       5.      Declare that the Bondi Memo and Section 5(f) of the DOT Order violate the APA;

       6.      Preliminarily and permanently enjoin Defendants from enforcing Section 17 of the

Executive Order, or taking any other action in furtherance of any withholding or conditioning of

federal funds based on the Executive Order or taking enforcement actions against Plaintiffs based

on the policies identified in this Complaint;

       7.      Preliminarily and permanently enjoin Defendants from implementing the funding

pause or the unlawful funding conditions described in the Bondi Memo, or taking enforcement

actions against Plaintiffs based on the policies identified in this Complaint;

       8.      Preliminarily and permanently enjoin Defendants from implementing the de-

prioritization of DOT funds for sanctuary jurisdictions as described in Section 5(f) of the DOT

Order, or taking enforcement actions against Plaintiffs based on the policies identified in this

Complaint;

       9.      Preliminarily and permanently enjoin Defendants from enforcing Section 2(a)(ii)

of the Subsidization Executive Order, or taking any other action in furtherance of any withholding

or conditioning of federal funds based on the Subsidization Executive Order.

       10.     Vacate the portions of the Bondi Memo and the DOT Order pertaining to sanctuary

jurisdictions under 5 U.S.C. § 706;

       11.     Award to Plaintiffs reasonable attorney’s fees and costs incurred in pursuing this

action, and pre-judgment and post-judgment interest at the highest lawful rates; and

       12.     Grant such other and further relief as this Court deems just and appropriate.




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Dated: February 24, 2025                  Respectfully submitted,

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